                       UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

                                DOCKET NO. 3:10CR163-FDW

UNITED STATES OF AMERICA,                        )
                                                 )            ORDER OF FORFEITURE
               v.                                )             (MONEY JUDGMENT)
                                                 )
MIRIAM MENOSCAL                                  )


       In the Bill of Indictment in this case, the United States sought forfeiture of property

pursuant to 18 U.S.C. § 981(a)(1)(C), 21 U.S.C. § 853, and 28 U.S.C. § 2461(c), as proceeds of

the crime charged, together with any other substitute property, which would be subject to

forfeiture under § 853(p).

       Defendant entered into a plea agreement; subsequently pled guilty to Count One in the

Bill of Indictment; and was adjudged guilty of the offense charged in that count. In the plea

agreement, defendant has agreed to forfeit property identified in the indictment, including

criminal proceeds. In addition, the specific sum of $383,349.60 was transferred by wire to an

account controlled by the defendants and is proceeds of the crime of which this defendant has

now been convicted.

       It is therefore ORDERED that the following property is forfeited to the United States for

disposition according to law: the sum of $383,349.60 in criminal proceeds, in the form of a

money judgment against the defendant for this amount.
                                               Signed: February 1, 2012




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